Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                       Exhibit Exhibit C Page 1 of 50




                     EXHIBIT "C"
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                       Exhibit Exhibit C Page 2 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                       Exhibit Exhibit C Page 3 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                       Exhibit Exhibit C Page 4 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                       Exhibit Exhibit C Page 5 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                       Exhibit Exhibit C Page 6 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                       Exhibit Exhibit C Page 7 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                       Exhibit Exhibit C Page 8 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                       Exhibit Exhibit C Page 9 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 10 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 11 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 12 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 13 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 14 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 15 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 16 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 17 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 18 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 19 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 20 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 21 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 22 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 23 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 24 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 25 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 26 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 27 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 28 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 29 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 30 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 31 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 32 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 33 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 34 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 35 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 36 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 37 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 38 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 39 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 40 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 41 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 42 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 43 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 44 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 45 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 46 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 47 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 48 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 49 of 50
Case 18-23437-MBK   Doc 60-6 Filed 07/11/23 Entered 07/11/23 14:44:39   Desc
                      Exhibit Exhibit C Page 50 of 50
